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                     IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF PUERTO RICO

 UNITED STATES OF AMERICA
 Plaintiff
 vs                                              CRIMINAL 10-0412CCC
 1) JOSE A. RODRIGUEZ-LESPIER
 2) ROLANDO NATLA-SABATER
 3) RENE RAMIREZ-ALZAMORA
 4) RUBEN FERNANDEZ-LOPEZ
 5) MANUEL PEREZ-HUERTAS
 6) MAGALI L. FERNANDEZ-LOPEZ
 7) MELISSA MADERA-LABOY
 8) CARLOS D. MARTINEZ-MENDOZA
 9) ERIC C. GONZALEZ-MELENDEZ
 10) WILFREDO LOPEZ-MARTINEZ
 11) CARLOS RIVERA-VELAZQUEZ
 12) CRISTOBAL MUÑOZ-GARCIA
 13) JOSE M. ALBIZU-RIVERA
 14)JUAN M. LOPEZ-COLON
 15) JOSE A. COSME-MALDONADO
 16) RUFINO COLON-PEREZ
 17) MARIA L. COLON-VEGA
 18) EDWIN GARCIA-RIOS
 19) WILLIAM FLORES-LESPIER
 20) RAFAEL IRIZARRY-SANTOS
 21) WILLIAM ROSADO-GUZMAN
 22) NIURKA M. MUÑOZ-GOMEZ
 23) JOSE M. GOMEZ-ZALDO
 24) CARLOS R. RODRIGUEZ-VEGA
 25) SANTOS R. MONTES-MONTALVO
 26) SOTERO GONZALEZ-LOPEZ
 27) FELIX MALDONADO-RIOS
 28) ERIC H. GONZALEZ-CHACON
 29) JOSE J. FELICIANO-RIVERA
 30) JOSE E. LOPEZ-MIRANDA
 31) MELVIN J. OJEDA-VAZQUEZ
 32) JAVIER O. PEREZ-HERNANDEZ
 33) GUSTAVO A. VELEZ-OQUENDO
 34) LORIMAR SANTIAGO-RODRIGUEZ
 Defendants


                                        ORDER

       Having considered the Report and Recommendation filed on February 22, 2012
(docket entry 595) on a Rule 11 proceeding of defendant Eric C. González-Meléndez (9)
held before U.S. Magistrate Judge Camille L. Vélez-Rivé on February 15, 2012, to which no
opposition has been filed, the same is APPROVED. Accordingly, the plea of guilty of
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defendant González-Meléndez is accepted. The Court FINDS that his plea was voluntary
and intelligently entered with awareness of his rights and the consequences of pleading
guilty and contains all elements of the offense charged in the indictment.
      This case was referred to the U.S. Probation Office for preparation of a Presentence
Investigation Report since February 15, 2012. The sentencing hearing is set for May 15,
2012 at 4:30 PM.
      SO ORDERED.
      At San Juan, Puerto Rico, on March 21, 2011.



                                                S/CARMEN CONSUELO CEREZO
                                                United States District Judge
